                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW MEXICO

In re:
DOROTHY MARIE BYRD,
       Debtor(s)                                                                       No. 18-11852-t7

               NOTICE OF DEADLINE FOR FILING OBJECTIONS TO MOTION
               TO APPROVE SALE OF REAL PROPERTY TO TIMOTHY COVELL

         Please take notice that on June 3, 2019, Philip J. Montoya, Trustee, forwarded to the Court
for filing, Motion to Approve Trustee’s Sale of Real Property to Timothy Covell, in which he asks
the Court for its Order approving the proposed sale of real property located at 10516 Towner
Avenue NE, Albuquerque, NM 87112 to Timothy Covell for the cash sum of $125,100.00. A copy
of the aforesaid Motion is on file with the Bankruptcy Court Clerk and is available for public
inspection.
         IF YOU OBJECT to the Application, you must file an objection with the Clerk of United
States Bankruptcy Court, District of New Mexico, Pete V. Domenici U.S. Courthouse, 333 Lomas
Blvd., NW, Suite 360, Albuquerque, NM 87102, within 21 days of the date of service of this notice.
If you are an attorney, you must electronically file your objection. You must serve your objection
to Philip J. Montoya, Attorney for Applicant, 1122 Central Avenue SW, Suite 3, Albuquerque,
New Mexico 87102, (505) 244-1152.

        If objections are timely filed, a hearing to consider them will be had before the Honorable
David T. Thuma, Brazos Courtroom, 5th Floor, Pete V. Domenici U.S. Courthouse, 333 Lomas
Blvd., NW, Suite 360, Albuquerque, NM 87102 on short notice to Philip J. Montoya and any
objecting party.

       If no objections are timely filed, the Court may consider entry of an Order granting the
application that has been presented to the Court.
                                                    Filed electronically
                                                    Philip J. Montoya
                                                    Chapter 7 Trustee
                                                    1122 Central Avenue SW, Suite 3
                                                    Albuquerque, NM 87102
                                                    (505) 244-1152
                                                    pmontoya@swcp.com

I certify that I mailed a copy of this notice, via first class mail to the Debtor(s), and all creditors
and parties of interest included on the mailing matrix. A copy of the mailing matrix is attached
to the original of this notice.
                                                         Filed electronically
                                                         Philip J. Montoya
Date of Mailing: 6/3/19

Note: Inquiries regarding this hearing should be directed to Philip J. Montoya, Attorney for Trustee, 1122 Central
Avenue SW, Suite 3, Albuquerque, New Mexico 87102, (505) 244-1152, pmontoya@swcp.com.




 Case 18-11852-t7           Doc 61      Filed 06/03/19        Entered 06/03/19 13:07:06 Page 1 of 1
